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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

DOUGLAS STOWE, Individually, and               §
STEPHANIE JACKSON as Guardian and              §
Next Friend of WYATT STOWE, a                  §
Minor Child,                                   §
                                               §
      Plaintiffs,                              §
                                               §
v.                                             §
                                               §
DAVID A. RUSSELL, D.C., RV                     §                          Case No. 4:07-CV-328
ENTERPRISES, P.C., Individually and d/b/a      §
RUSSELL CHIROPRACTIC, COLUMBIA                 §
MEDICAL CENTER OF MCKINNEY,                    §
SUBSIDIARY, L.P., d/b/a MEDICAL                §
CENTER OF MCKINNEY, WILLIAM T.                 §
HARTMAN, D.O., VUDHI V. SLABISAK,              §
M.D., and NORTH TEXAS                          §
ORTHOPAEDIC & SPINE, P.A.,                     §
                                               §
      Defendants.                              §

                       MEMORANDUM OPINION AND ORDER
                    DENYING DEFENDANTS’ MOTIONS TO DISMISS

      The following motions are pending before the court:

      1.      Defendants Vudhi V. Slabisak, M.D. and North Texas Orthopaedic & Spine, P.A.’s
              dispositive Rule 12 motion to dismiss and, subject thereto, motion to transfer venue
              (docket entry #29); and

      2.      Plaintiffs’ response in opposition to Defendant Vudhi V. Slabisak, M.D. and North
              Texas Orthopaedic & Spine, P.A.’s Rule 12 motion to dismiss (docket entry #34).



      1.      Defendant Medical Center of McKinney’s dispositive Rule 12b motion to dismiss
              (docket entry #35);

      2.      Plaintiffs’ response to Defendant’s Medical Center of McKinney’s dispositive Rule


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               12(b) motion to dismiss (docket entry #37);

       3.      Defendant Medical Center of McKinney’s reply to Plaintiffs’ response to
               Defendant’s 12b motion to dismiss (docket entry #39); and

       4.      Plaintiffs’ sur-reply to Defendant Medical Center of McKinney’s dispositive Rule
               12(b) motion to dismiss (docket entry #40).

Having considered the motions to dismiss, the court finds that the same should be denied.

                                          BACKGROUND

       On March 17, 2005, the Plaintiff (“Stowe”), apparently experiencing pain, visited the

emergency room at the Medical Center of McKinney (“the Medical Center”). PL. SECOND AMD .

COMPL., p. 5, ¶ 3.08. Stowe was diagnosed with a right knee sprain. Id. On March 23, 2005, Stowe,

now experiencing back pain, sought treatment from David Russell (“Russell”), a chiropractor who

had previously treated him. Id. After Russell performed drop table and electrical stimulation

treatments, Stowe lost his ability to move his right leg and to walk. Id. at pp. 5-6. Russell

subsequently directed Stowe to the emergency room. Id. at p. 6.

       Stowe arrived at the emergency room at the Medical Center at approximately 5:40 p.m. Id.

at p. 6, ¶ 3.09. Dr. William Hartman (“Hartman”) noted that Stowe was experiencing pain in his

back and that Stowe could neither move his right leg or walk. Id. A CT scan of Stowe’s lumbar

spine revealed severe stenosis of L4-5 and narrowing at L5 – S1. Id. Stowe was discharged from the

Medical Center, with orders to see an orthopedic surgeon the following morning. Id. at ¶ 3.10.

       By the time Stowe visited with Dr. Vudhi Slabisak (“Slabisak”), the orthopedic surgeon, as

instructed, Stowe experienced a marked worsening of his paralysis. Id. at p. 7, ¶ 3.11. Slabisak sent

Stowe back to the Medical Center to be admitted. Id. By March 26, 2005, Stowe suffered bowel

incontinence; as such, a thoracic MRI was ordered. Id. On March 27, 2005, Slabisak performed a


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decompressive laminectomy. Id. On March 28, 2005, Stowe underwent a second surgical

procedure. Id. However, Stowe’s spinal cord function did not return. Id. On April 12, 2005, Stowe

was transferred to HealthSouth for in-patient rehabilitation. Id. Stowe remained at HealthSouth

until May 17, 2005. Id. Stowe is a permanent T12 paraplegic, suffering bladder and bowel

incontinence. Id.

        The Plaintiffs contend that the Medical Center was aware that Stowe was uninsured. Id. at

p. 6, ¶ 3.10. The Plaintiffs allege that the Medical Center was aware of Stowe’s inability to pay

when it failed to perform an appropriate medical screening, i.e., x-rays or an MRI of Stowe’s thoracic

spine, when Stowe first presented to the emergency room. Id. at p. 6, ¶¶ 3.09-3.10; p. 10, ¶ 4.10.

The Plaintiffs contend that the Medical Center failed to offer Stowe the same screening that it would

have offered any other patient in a similar condition, presenting with similar symptoms. Id. at ¶ 4.10.

        Additionally, the Plaintiffs allege that the Medical Center was aware of Stowe’s inability to

pay when it discharged Stowe from the emergency room. Id. at p. 6, ¶ 3.10. The Plaintiffs contend

that the Medical Center had actual knowledge of Stowe’s emergency medical condition but failed

to either stabilize Stowe’s condition or transfer Stowe to another hospital. Id. at p. 9, ¶ 4.09. The

Plaintiffs allege that at the time of Stowe’s discharge, Stowe’s “condition constituted an emergency

medical condition manifesting itself by recent onset of paralysis such that in the absence of

immediate medical attention it could be expected to, and did actually result in serious and permanent

impairment of his bodily functions and serious and permanent dysfunction of his lower limbs.” Id.

at p. 10, ¶ 4.09.

        The Plaintiffs allege that the above resulted in violations of the Emergency Medical

Treatment and Active Labor Act, 42 U.S.C. §§ 1395dd, et seq. (“EMTALA”). Id. at p. 9, ¶ 4.08.


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The Plaintiffs contend that pursuant to EMTALA, Hartman, Slabisak and the nursing staff were

employees and/or agents of the Medical Center. Id. As such, the Plaintiffs have pled both an

EMTALA cause of action as well as a negligence cause of action against the Defendants herein.

                                          LEGAL STANDARD

        The Defendants have filed motions to dismiss for lack of subject matter jurisdiction pursuant

to FED . R. CIV . P. 12(b)(1). Additionally, the Defendants filed motions to dismiss for failure to state

a claim pursuant to FED . R. CIV . P. 12(b)(6).

        Rule 12(b)(6) provides that a party may move for dismissal of an action for failure to state

a claim upon which relief can be granted. FED . R. CIV . P. 12(b)(6). The court must accept as true

all well-pleaded facts contained in the plaintiff’s complaint and view them in the light most favorable

to the plaintiff. Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. 1996). In addition, all reasonable

inferences are to be drawn in favor of the plaintiff’s claims. Lowrey v. Texas A&M Univ. Sys., 117

F.3d 242, 247 (5th Cir. 1997). However, dismissal for failure to state a claim does not require the

appearance that, beyond a doubt, the plaintiff can prove no set of facts in support of his claim that

would entitle him to relief. Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1968 (2007). Rather,

to survive a 12(b)(6) motion to dismiss, a plaintiff must show, after adequately stating his claim, that

it “may be supported by showing any set of facts consistent with the allegations in the complaint.”

Id. at 1969.

        Although a district court may not go outside the complaint, the Fifth Circuit has recognized

one limited exception. Scanlan v. Texas A & M University, 343 F.3d 533, 536 (5th Cir. 2003). A

district court may consider documents attached to a motion to dismiss if the documents are referred

to in the plaintiff’s complaint and are central to the plaintiff’s claims. Id., citing Collins v. Morgan


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Stanley Dean Witter, 224 F.3d 496, 498-99 (5th Cir. 2000).

                                    DISCUSSION AND ANALYSIS

       “[EMTALA] was not intended to be used as a federal malpractice statute, but instead was

enacted to prevent ‘patient dumping’, which is the practice of refusing to treat patients who are

unable to pay.” Marshall v. East Carroll Parish Hosp. Service District, 134 F.3d 319, 322 (5th Cir.

1998). “The act requires that participating hospitals give the following care to an individual who is

presented for emergency medical care: (1) an appropriate medical screening, (2) stabilization of a

known emergency medical condition, and (3) restrictions on transfer of an unstabilized individual

to another medical facility.” Battle ex rel. Battle v. Memorial Hosp. at Gulfport, 228 F.3d 544, 557

(5th Cir. 2000), citing 42 U.S.C. § 1395dd(a)-(c).

       “An appropriate medical screening examination is determined ‘by whether it was performed

equitably in comparison to other patients with similar symptoms,’ not ‘by its proficiency in

accurately diagnosing the patient’s illness.’” Id., quoting Marshall, 134 F.3d at 322. “A hospital’s

liability under EMTALA is not based on whether the physician misdiagnosed the medical condition

or failed to adhere to the appropriate standard of care.” Id., citing Marshall, 134 F.3d at 322.

“Instead, the plaintiff must show that the hospital treated him differently from other patients with

similar symptoms.” Id., citing Marshall, 134 F.3d at 324.

       Additionally, “EMTALA requires stabilization of a known emergency medical condition.”

Id. at 558, citing 42 U.S.C. § 1395dd(b)(1). “The duty to stabilize does not arise unless the hospital

has actual knowledge that the patient has an unstabilized medical emergency.” Id., citing Marshall,

134 F.3d at 325. EMTALA defines “emergency medical condition” as follows:

       (A)     a medical condition manifesting itself by acute symptoms of sufficient


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                severity (including severe pain) such that the absence of immediate medical
                attention could reasonably be expected to result in –

                (i)     placing the health of the individual (or, with respect to a pregnant
                        woman, the health of the woman or her unborn child) in serious
                        jeopardy,

                (ii)    serious impairment to bodily functions, or

                (iii)   serious dysfunction of any bodily organ or part[.]

42 U.S.C. § 1395dd(e)(1)(A); see also Battle ex rel. Battle, 228 F.3d at 558.

        “If the hospital has actual knowledge of the emergency medical condition, it must then

provide either ‘within the staff and facilities available at the hospital, for such further medical

examination and such treatment as may be required to stabilize the medical condition, or for transfer

of the individual to another medical facility . . . .’” Battle ex rel. Battle, 228 F.3d at 558-59, quoting

42 U.S.C. § 1395dd(b)(1)(A) & (B). “Under EMTALA, ‘to stabilize’ means ‘to provide such

medical treatment of the condition as may be necessary to assure, within reasonable medical

probability, that no material deterioration of the condition is likely to result from or occur during the

transfer of the individual from a facility . . . .’” Id. at 559, quoting 42 U.S.C. § 1395dd(e)(3)(A).

According to the Fifth Circuit, “to stabilize” means “‘[t]reatment that medical experts agree would

prevent the threatening and severe consequence of’ the patient’s emergency medical condition while

in transit.” Id., quoting Burditt v. United States Dep’t of Health & Human Servs., 934 F.2d 1362,

1369 (5th Cir. 1991).

        Accepting as true all the well-pleaded facts contained in the Plaintiffs’ second amended

complaint and viewing them in the light most favorable to the Plaintiffs, the court is of the opinion

that the Plaintiffs’ EMTALA claims may be supported by some set of facts consistent with the



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allegations stated in the second amended complaint. The allegations in the Plaintiffs’ second

amended complaint assert that the Medical Center’s medical screening examinations were not

performed in an equitable manner with respect to Stowe, “who was experiencing the same symptoms

as other patients but who was not provided the same diagnostic procedures, allegedly because of his

uninsured status.” Southard v. United Regional Health Care System, Inc., 2006 WL 1947312, *3

(N.D. Tex. 2006). The second amended complaint “further alleges that [the Medical Center] failed

to stabilize [Stowe’s] medical condition before discharging him, despite knowing of his condition

and that his condition would materially deteriorate if he were released.” Id.

       As aptly noted by the Southard court:

               To the extent that Defendant[s] argue[ ] that these allegations are
       unsubstantiated and thereby warrant dismissal, [ ] Defendant[s] fail[ ] to recognize
       that a Rule 12(b)(6) motion merely tests the adequacy of the pleadings and not
       Plaintiffs’ ultimate evidentiary burden. If later, after an adequate time for discovery,
       Plaintiffs fail to substantiate these allegations with admissible evidence, then
       Defendant[s] would be entitled to summary judgment on their EMTALA claim. At
       this early stage, however, dismissal would be inappropriate for lack of evidence.

Southard, 2006 WL 1947312 at *3. Accordingly, the Defendants’ FED . R. CIV. P. 12(b)(6) motions

to dismiss should be denied. Likewise, since the Plaintiffs’ EMTALA claims remain, the court is

vested with jurisdiction. As such, the Defendants’ FED . R. CIV . P. 12(b)(1) motions to dismiss

should be denied as well.

                                           CONCLUSION

       Based on the foregoing, Defendants Vudhi V. Slabisak, M.D. and North Texas Orthopaedic

& Spine, P.A.’s dispositive Rule 12 motion to dismiss and, subject thereto, motion to transfer venue




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(docket entry #29)1 is hereby DENIED. Further, Defendant Medical Center of McKinney’s

dispositive Rule 12b motion to dismiss (docket entry #35) is DENIED as well.

        IT IS SO ORDERED.

             .    SIGNED this the 20th day of March, 2008.




                                                              _______________________________
                                                              RICHARD A. SCHELL
                                                              UNITED STATES DISTRICT JUDGE




        1
        In their alternative motion to transfer venue, Slabisak and North Texas Orthopaedic & Spine,
P.A. sought a transfer of this case from the Marshall Division to the Sherman Division. On July 5, 2007,
the Honorable T. John Ward transferred this case to the Sherman Division. Accordingly, that portion of
the Defendants’ motion seeking a transfer is MOOT.

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